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                             UNITED STATES DISTRICT COURT
                         SO U TH ER N D ISTR ICT O F FLO R IDA

                          CA SE N o.1:16-cv-24431-A ItonagaN cA IiIey

         GOLTV ,IN C,,and GLOBAL SPORTS
   PARTNERS LLP,

                                 Plaintiffs,



         FOX SPORTS LATIN A M EM CA ,LTD .,
   PAN A M ERICAN SPOR TS EN TERPRISES
   COM PANY,d/b/aFOX SPORTS LATIN
   AMERICA (individuallyandassuccessortoFOX
   PAN AM ERICAN SPORTS LLC),FOX
   FNTEM ATIONAL CHANNELS (US),INC.,
   FOX N ETW OR K S G ROU PO INC.(assuccessorto
                            .


   FOX INTERNATIONALCHANNELS(UV)
   1NC.)
       uCARLOSMARTINEG HERNAN LOPEZ,
   JAMESGANLEYSJ&TSPORTSMARKETING
   LTD : TO RN EO S Y CO M PETEN CIA SO S.A .
   ALEJANDROBURZACO,FULLPLAYGV UP      .



   S.A g
       . CON FED EM CION SU DA M ERICAN A
   DE FUTBO Lg d/b/aCON M EBOLJ EUGEN IO
   FIGUEREDO,and JUAN ANGEL NAPOUT,

                                 D efendants.



                 REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
                                  (LETTERS R OGATORD
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                         T O TH E A PPR O PRIA TE JUD ICIA L AU TH O RITY
                          IN T H E O R IENTA L R EPUBLIC O F UR U G U AY

          TheUnited StatesDistrictCourtfortheSouthern DistrictofFlorida,in theUnited States

    ofAmerica,presentsitscomplimentstotheappropriatejudicialauthority'
                                                                     oftheOriental
    RepublicofUruguayandrespectfullyrequestsinternationaljudicialassistancein obtaining
    evidenceto beused in theabove-captioned civilaction proceeding beforethisCourt. ThisCourt

    requeststheassistancedescribedhereinasnecessaryintheinterestofjustice.Theassistance
    requestedisthattheappropriatejudicialauthority oftheOrientalRepublicofUruguay,bythe
    properandusualprocessofyourCourt,m akethenecessary OrderorOrdersto compelthe

    production,inspection,and copying ofa11docum entsthatare in possession,custody,orcontrol

    ofEugenioFigueredo,theAsociacién Uruguayade Fûtbol,Tenfield S.A .,andFullPlay Group,

    S.A .,asidentified in ScheduleA,ScheduleB,ScheduleC,and ScheduleD,respectively.

          TheapplicantsforthisLetterRogatory areDefendantsFox SportsLatinAm erica,Ltd.,

    PanAmericanSportsEnterprisesCompany,FoxlnternationalChnnnels(US),lnc.,andFox
    NetworksGroup,Inc.(collectively,(:Fox'')andTorneosyCompetenciasS.A.(t1Tol'
                                                                             neos'').
    RespectiveUruguaymlcounselforFox andTorneosareavailableto answerany questionsthe

    appropriatejudicialauthorityoftheOrientalRepublicofUnlguaymayhave.
          Thisrequestismadepursuantto28U.S.C.j1781(b)(2)(allowingUnitedStatescourtsto
    issueLettersRogatorydirectlytoaforeigntribunaloragency)andthisCourt'sOrdergranting
    theDefendants'M otion forIssuanceofLettersRogatory. TheUnited StatesDistrictCourtfor

    theSouthern DistrictofFlorida isacompetentcourtoflaw and equity which properly has

    jurisdictionoverthisproceeding,andhasthepowertocompeltheproductionofdocumentsboth
    withinandoutsideitsjurisdiction.
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         Theproduction ofdocum entsisintended foruse attrialordirectly in thepreparation of

  trial,and in the view ofthisCourt,willberelevantto claim sand defensesin thecase. The

  requesting Courtissatistiedthattheevidencesoughtto beobtained through thisrequestis

  relevantand necessary and carmotreasonably be obtained by otherm ethods.BecausethisCourt

  lacksjurisdictiontocompelparticipationofthesepersonsandentitiesand,suchpm icipation
  beingnecessaryinorderthatjusticebeservedintheabove-captionedproceedings,thisCourt
  respectfullyrequestsassistancefrom theappropriatejudicialauthorityintheOrientalRepublic
  ofUruguay.


         N A M ES AN D A D DR ESSES O F TH E PA RTIES O F TH E C A SE A N D TH EIR
         R EPR ESEN TATW ES

         The documentsrequested relate to civilactionN o.1:16-cv-24431,bearingthecaption

  GOfFK Inc.etal.v.FoxSportsLatinAmerica,Ltd.etal.,which iscurrently pending in the
  United StatesDistrictCourtfortheSouthern DistrictofFlorida.Thepartiesandtheir

  representativesarelisted herein asfollows:

         Plaintiffs

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         1580 John F.K ennedy Causeway
         North Bay Village,FL 33141
         United States

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        Eugenio Figueredo
        A ppearance notentered

        Intervenor

        U nited States ofA m erica
        United StatesAttom ey'sOffice
        271 Cadm an Plaza East
        Brooklyn,N Y 11201

  2.    NAM E AND ADDRESS O F COITNSEL IN URUG UAY

        Unlguayan colmselresponsibleforpresenting thisLetterRogatory to the appropriate

  judicialauthorityoftheOrientalRepublicofUruguayislistedhereinasfollows:
        H ectorB.V iana
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        M miela Ruanova
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        Jim enezdeArechaga,Viana,+ Brause

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           CounselforFoxSportsLatinAmerica,
           Ltd.,Pan Am erican Sports Enterprises
           Company,FoxInternationalChannelsW SI
           Inc.,and Fox A c/w or/c,
                                  sGroup,Inc.

           Haroldo Espalter
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           11000 M ontevideo,Uruguay
           (598)2916-0988
           CounselforTorneosy CompetenciasS.A.

     3.    NATURE AND PURPOSE OF TH E PROCEEDINGS AND SUM M ARY OFTHE
           FA CTS

           PlaintiffsGOITV,lnc.and GlobalSportsPartnersLLP filed thisactionin October2016,

     alleging thatthe defendants,alongwith form erdefendantsFullPlay Group S.A .and Conm ebol,

     engagedin abribery schem ein violation oftheRacketeerInfluenced and CorruptOrganizations

     Act,18U.S.C.5j1962(c)and 1962(d);theShennanAntitnzstAct,15U.S.C.jj1and2;the
     FloridaDeceptiveandUnfairPracticesAct,Fla.Stat.jj501.201,etseq.,andstate-law Tortious
     Interferencewith ProspectiveEconom icAdvantageand Conspiracy to Comm itTortious

     lnterference.An authenticcopy ofPlaintiffsSecond Am ended Com plaintanditsexhibitsis

     attached asAttachment1. Plaintiffsallegethatform erdefendantFullPlay Group S.A.and

     DefendantEugenioFigueredo participated in theallegedbribery sçhem e.Plaintiffsalso allege

     thatmemberassociationsofConfederaci6n SudamericandeFûtbol(Conmebol),such asthe
     AsociaciônUruguayadeFfltbol(AUF),wereharmedbytheallegedscheme.
           On September 19,2017,theCourtdism issed FullPlay Group S.A.and Conmebolfor

     lackofjurisdiction.OnNovember7,2017,aClerk'sEntryofDefaultwasenteredagainst
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   EugenioFigueredo forfailureto appear.On Jarmary 26,2018,pursuantto am otion to dism iss

   filed by thedefendants,theCourtdism issed Plaintiffs'Sherman Antitrtlstclaim sand Florida

   Deceptiveand UnfairPracticesActclaim s.Theclaim slmdertheRacketeerIntluenced and

   Com zptOrganizationsA ctand state-law TortiousInterference w ith Prospective Econom ic

   Advantageand Conspiracyto Comm itTortiouslnterferencerem ain.


   4.     EV IDEN CE TO BE OB TAIN ED AN D PUR PO SE

          Theevidencetobe obtained consistsofdocmnentsforuse attrialorin preparation for

   trialin thism atter.Therequested docum entsin SchedulesA,B,C,and D seek docum entsand

   inform ation thatisuniquely in the possession,custody,orcontrolofonly Eugenio Figueredo,the

   AUF,Tenfield S.A.,and FullPlay Group,S.A .

          Eugenio Figueredo,theAUF,Tenfield S.A .,and FullPlay Group S.A.a11reside in

   Uruguay and,upon inform ation and belief,arenotdomiciled in theUnited States. Thus,this

   Courtcannotdirectly compelthem toprovidetherequested docum ents.Itistherefore

   respect%llyrequestedthattheappropriatejudicialauthorityoftheOrientalRepublicofUnzguay
   compelEugenio Figueredo,the AsociaciénUruguayadeFûtbol,Tenfield S.A.and FullPlay

   G roup S.A .to produce docum entsresponsive to the requests forproduction in Schedules A ,B ,

   C,andb tothisLetterofRequest,totheextentthattheyareintheirpossession,custody,or
   control,and arenotprivileged tmdertheapplicablelawsofUnzguay.

          Therequested docllmentsareneeded in connection with theparties'claim sand defenses.

   W hilethisCourtexpressesno view atthistime asto them eritsin theabove-captioned case,it

   believestheevidencesoughtherewillberelevantto and eitherprobativeor.disprobative of

   m aterialfactsrelevanttotheparties'claimsand defenses.




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     5.    ID ENT ITY AN D A DD R ESSES O F TH E EN TITIES A ND PER SO N S FR O M
           W HOM DOCUM ENTSARE REQUESTED
           Theidentity and addressesofthe entitiesandpersonsto becompelled to produce

     docllmentsissetforth below. Theaddressesprovided arebased on currently available

     information and m ay besupplem ented.

           E ugenio Figueredo
           N ationality:U ruguay
           Hom eAddress:RnmblaRepflblica de1Penk1503,apto.1001,M ontevideo,11300,
           U ruguay
           W orkA ddress:Vihade1M ar7090,oficina202,M ontevideo,11500,Unzguay
           Represented by:Karen Pintos,M isiones1445,Escritorio 5,M ontevideo,11000,Uruguay

           A sociacién Uruguaya de Fétbol
           Nationality:Unzguay
           Address:Guayabo 1531,M ontevideo,11200,Unzguay

           T enfield S.A .
           Nationality:Uruguay
           Address:Divina Com edia 1521,M ontevideo,11500,Uruguay

           FullPlay G roup S.A .
           N ationality:U ruguay
           Address:Parrade1Riego 987/9,M ontevideo,11300,Uruguay


     6.    DOCUM ENTS REQUESTED
           itwouldfurthertheinterestsofjusticeifyou wouldsummonEugenioFigueredo,
     Asociacién UruguayadeFûtbol,Tenfield S.A.,and FullPlay Group S.A.to producethe

     docum ents setforth in SchedulesA ,B,C,and D to this LetterofRequest. A listofdocum ents

     requested from Euguenio Figueredo isattached asScheduleA .A listofdocumentsrequested

     from theAsociaciön Uruguaya deFfltbolisattached asScheduleB.A listofdocum ents

     requested from Tenfeld S.A.isattached asScheduleC. A listofdocum entsrequested from Full

     Play Group S.A.isattached asScheduleD.
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        SPECIFICATION OF DATE BYW HICH TIIE REQUESTING AUTHORITY
        REQUIRES REPEIPT OFTHE RESPONSE TO THE LETTERSROGATORY
        ltisrequested that,ifpossible,thisaction becarried outwithin acertain reasonable

  timeframe,nottoexceedsixty(60)daysfrom receipt,giventheresourcesandfacultiesofthe
  requested Court,applyingprinciplesofeconomy and expediency. Given thetim elineofthe

  action andthecurrentdiscoverydeadlines,should thepersonsand entitiesf'
                                                                       rom whom

  doctlmentsarerequestedfailtotimelycomplywith ajudicialorderfrom theappropriatejudicial
  authority oftheOrientalRepublicofUruguay,the applicantsofthisLetterRogatory willbe

  unableto usedocllmentsrelevanttotheirdefensesin thecaseattrialorin preparation fortrial.


  8.    PERSON TO W HOM REQUESTED DOCUM ENTSARE TO BE PRODUCED
        H ector B.V iana
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        Ltd.,PanAmerican SportsEnterprises
         Company,FoxInternationalChannels(US)
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                             çGroup,Inc.

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     9.    R EC IPRO CITY

           InthefurtheranceofjusticeandbytheproperandusualprocessofthisCourt,theUnited
     StatesDistrictCourtfortheSouthernDistrictofFloridaasstlresthejudicialauthoritiesofthe
     OrientalRepublicofUruguay thatitiswillingto provide sim ilarcooperation and assistanceto

     judicialauthoritiesinUnlguayintheeventthatsimilarassistanceisrequested.




     oated:         /)
                     / zl/œ

                                                          (
                                                          '                o
                                                TH E H ON O M BLE CECILIA .A LTON A GA
                                                UN ITED STA TES D ISTRICT JUD GE




                                                14
